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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

MISC. BUSINESS DOCKET
No: 19-mc-91375-PBS

IN RE: CYNTHIA LEE ANDERSEN

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ORDER OF IMMEDIATE ADMINISTRATIVE SUSPENSION

WHEREAS, on July 19, 2019, the Supreme Judicial Court for the Commonwealth of
Massachusetts has cause to file with this Court a certified copy of an Order of Immediate
Administrative Suspension with respect to Attorney CYNTHIA LEE ANDERSEN.

1. WHEREAS, pursuant to Local Rule 83.6.9(b), on September 5, 2019,
“Notice of Filing of Disciplinary Action” and “Order to Show Cause” were
filed in this Court and copies sent (along with a copy of the Local Rule) via
certified mail to CYNTHIA LEE ANDERSEN;

2. WHEREAS, on September 30, 2019, the certified mail package is being returned
to the Court and marked “Unclaimed;”

3. WHEREAS, pursuant to Local Rule 83.5.6(a), notice mailed to an attorney’s
last address of record constitutes due notice.

WHEREFORE, pursuant to Local Rule 83.6(2)(D), this Court hereby imposes the identical

discipline, and CYNTHIA LEE ANDERSEN is hereby Suspended from the practice of law before
this court until further notice.

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Date Patti B. Saris, Chief Judge

 
